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 7

 8                                       UNITED STATES DISTRICT COURT

 9                                     NORTHERN DISTRICT OF CALIFORNIA
10

11   DISTRICT COUNCIL 16 NORTHERN                                                Case No. 3:20-cv-07353-JCS
     CALIFORNIA HEALTH AND WELFARE
12   TRUST FUND, et al.                                                          PLAINTIFFS’ REQUEST TO CONTINUE
                                                                                 CASE MANAGEMENT CONFERENCE;
13                                                                               [PROPOSED] ORDER THERON
                        Plaintiffs,
14                                                                               Date:                 March 26, 2021
              v.
                                                                                 Time:                 2:00 PM
15                                                                               Location:             Zoom
16   KENNETH JOHN KOCSIS JR., individually and                                   Judge:                Hon. Joseph C. Spero
     dba ALL STAR CAULKING AND
17   WATERPROOFING, LLC,
18                      Defendant.
19

20            Plaintiffs respectfully request that the Case Management Conference, currently on calendar for

21   March 26, 2021, be continued for approximately sixty to ninety (60-90) days. Good cause exists for the

22   granting of the continuance, as follows:

23            1.        As the Court’s records will reflect, this action was filed on October 20, 2020 (Dkt.1). The

24   Defendant was served by substituted service on December 10, 2020, and a Proof of Service of Summons

25   was filed with the Court on January 7, 2021 (Dkt. 9).

26            2.        Plaintiffs’ counsel spoke with Defendant on December 14, 2020. During the call,

27   Defendant claimed that he is not signatory to a collective bargaining agreement with District Council 16

28   of the International Union of Painters and Allied Trades. Defendant also claimed that he has had past

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     PLAINTIFFS REQUEST TO CONTINUE CASE MANAGEMENT CONFERENCE
     Case No. 3:20-cv-07353-JCS           P:\CLIENTS\GLACL\All Star Caulking and Waterproofing\Pleadings\Word Versions + Fillable PDFs\Request to Continue CMC_031121.docx
                   Case 3:20-cv-07353-JCS Document 15 Filed 03/12/21 Page 2 of 3



 1   issues with people fraudulently using his contractor’s license.
 2            3.        As Defendant has failed to file a timely response to the Complaint, Plaintiffs filed a
 3   Request for Entry of Default on March 5, 2021. (Dkt. # 13). Default was entered on March 9, 2021.
 4   (Dkt. #14).
 5            4.        Accordingly, Plaintiffs respectfully request that the Case Management Conference,
 6   currently scheduled for March 26, 2021 be continued for sixty to ninety (60-90) days to allow sufficient
 7   time for Plaintiffs to prepare and file a Motion for Default Judgment.
 8            5.        There are no issues that need to be addressed by the parties at the currently scheduled
 9   Case Management Conference. In the interest of conserving costs as well as the Court’s time and
10   resources, Plaintiffs respectfully request that the Court continue the currently scheduled Case
11   Management Conference.
12   DATED: March 12, 2021                                                SALTZMAN & JOHNSON LAW CORPORATION

13                                                             By:
                                                                                                   /S/
                                                                          Craig L. Schechter
14
                                                                          Matthew P. Minser
15                                                                        Attorneys for District Council 16 Northern California
                                                                          Health and Welfare Trust Fund, et al.
16

17

18   IT IS SO ORDERED.

19            The currently set Case Management Conference is hereby continued to ____________________

20   at __________, and all previously set deadlines and dates related to this case are continued accordingly.
21

22   Dated: _________________, 2021                                                                                               _____
                                                               UNITED STATES MAGISTRATE
23                                                             JUDGE JOSEPH C. SPERO

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     PLAINTIFFS REQUEST TO CONTINUE CASE MANAGEMENT CONFERENCE
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 1                                                     PROOF OF SERVICE
 2   I, the undersigned, declare:

 3            1.        I am a citizen of the United States and am employed in the County of Alameda, State of

 4   California. My business address is 1141 Harbor Bay Parkway, Suite 100, Alameda, California 94502.

 5            2.        I am over the age of eighteen and not a party to this action.

 6            3.        On March 12, 2021, I served the following document(s):

 7           PLAINTIFFS REQUEST TO CONTINUE CASE MANAGEMENT CONFERENCE;
                                    [PROPOSED] ORDER
 8

 9   on the interested parties in said action by enclosing a true and exact copy of each document in an

10   envelope and depositing the sealed envelope with the United States Postal Service in a sealed envelope

11   with first class postage fully prepaid.

12            4.        The envelope was addressed and mailed as follows:
                                      All Star Caulking And Waterproofing, LLC
13                                              Kenneth John Kocsis, Jr.
                                                     756 6th Street
14
                                                   Norco, CA 92860
15

16            I declare under penalty of perjury that the foregoing is true and correct and that this declaration

17   was executed on March 12, 2021, at Vallejo, California.

18

19
                                                                                                               /S/
20
                                                                             Alicia Wood
21
                                                                             Paralegal
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     PROOF OF SERVICE
     Case No. 3:20-cv-07353-JCS           P:\CLIENTS\GLACL\All Star Caulking and Waterproofing\Pleadings\Word Versions + Fillable PDFs\Request to Continue CMC_031121.docx
